Case 8:14-cv-01707-MSS-TBM Document 16 Filed 10/07/14 Page 1 of 3 PageID 90




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION
                              CASE NO.: 8:14-cv-01707-MSS-TBM
3LIONS PUBLISHING, INC.

         Plaintiff,
v.

JUNIPER NETWORKS, INC.
         Defendant.
                                       /
                      LOCAL RULE 2.02(a) WRITTEN DESIGNATION AND
                      CONSENT-TO-ACT BY NON-RESIDENT ATTORNEY
         Pursuant to Local Rule 2.02(a) for the United States District Court for the Middle District

of Florida, non-resident attorney Jonathan S. Kagan hereby files this Written Designation and

Consent-to-Act and state as follows:

         1.      Jonathan S. Kagan is a partner with the law firm of IRELL & MANELLA LLP,

1800 Avenue of the Stars, Suite 900, Los Angeles, CA 90067; Telephone: (310) 203-7671/Fax:

(310) 556-5306; e-mail: JKagan@irell.com.

         2.      Jonathan S. Kagan is a member in good standing of the California Bar, is admitted

to practice before the United States District Court for the Central, Northern, and Eastern Districts

of California, the United States Court of Appeals for the Fifth Circuit, and the United States

Court of Appeals for the Federal Circuit, and has never been disciplined by these courts, nor by

any other courts or bars whatsoever.

         3.      Jonathan S. Kagan has not appeared frequently or regularly in cases pending

before the United States District Court for the Middle District of Florida.

         4.      Jonathan S. Kagan hereby designates the following member of the bar of the

United States District Court for the Middle District of Florida, who resides in Florida, to receive

all notices and papers for him and who shall be responsible for the progress of the case, including
{29613072;1}
Case 8:14-cv-01707-MSS-TBM Document 16 Filed 10/07/14 Page 2 of 3 PageID 91




the trial in case of his default: David Brafman, Akerman LLP, 777 South Flagler Drive, Suite

1100 West Tower, West Palm Beach, FL 33401.

         5.    David Brafman is a resident member in good standing of the Florida Bar and this

Court, and accepts the designation pursuant to Local Rule 2.02(a) and all responsibilities

assigned therein.

         6.    Jonathan S. Kagan is familiar with the local rules of this Court and the Code of

Professional Responsibility and other ethical limitations and requirements governing the

professional behavior of members of The Florida Bar.

         7.    Jonathan S. Kagan certifies that he has complied with the fee and e-mail

registration requirements of Local Rule 2.02(a).

    Dated: October 7, 2014                     Respectfully submitted,

                                               /s/ David Brafman
                                               David Brafman (FL Bar No. 68289)
                                               AKERMAN LLP
                                               777 South Flagler Drive
                                               Suite 1100 West Tower
                                               West Palm Beach, FL 33401
                                               Telephone: (561) 659-5000
                                               Fax: (561) 659-6313
                                               E-mail: david.brafman@akerman.com
                                               Attorney for Juniper Networks, Inc.

                                               Of Counsel:
                                               Jonathan S. Kagan
                                               David Nimmer
                                               (pro hac vice admissions pending)
                                               IRELL & MANELLA LLP
                                               1800 Avenue of the Stars, Suite 900
                                               Los Angeles, California 90067
                                               Telephone: (310) 203-7671
                                               Fax: (310) 556-5306
                                               E-mail: JKagan@irell.com
                                                        DNimmer@irell.com



{29613072;1}
                                                   2
Case 8:14-cv-01707-MSS-TBM Document 16 Filed 10/07/14 Page 3 of 3 PageID 92




                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on October 7, 2014, a true and correct copy of the foregoing

was electronically filed with the Clerk of the Court by using the CM/ECF system which will

send a notice of electronic filing to all counsel of record.

                                                 /s/ David Brafman
                                                 David Brafman (FL Bar No. 68289)




{29613072;1}
                                                   3
